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AFFIDAVIT OF SUSAN LAFONTANT

COMMONWEALTH OF VIRGINIA )
)SS
CITY OF ALEXANDRIA )

NOW COMES THE AFFIANT, Susan Lafontant, having been duly sworn to law, who deposes
and states the following:

1. lam currently employed as Records Specialist for the Exploited Children Division ("ECD") at
the National Center for Missing & Exploited Children ("NCMEC") and have been employed by
NCMEC since May 2019. Prior to my current position, I was a Supervisor, CyberTipline for ECD.
4g Regords Specialist, I am familiar with the operations ofgthe CyberTiptine, including the
procedures involving the receipt and processing of reports by NCMEC and the procedures used to
generate and maintain reports. The information contained in this declaration is based on my own
personal knowledge and information to which I have access in my role as Records Specialist for
ECD for NCMEC.

2. NCMEC is a private, nonprofit corporation, incorporated under the laws of the District of
Columbia. NCMEC’s mission is to help find missing children, reduce child sexual exploitation,
and prevent child victimization.

CyberTipline

3. NCMEC created the ECD in January 1997. NCMEC began operating the CyberTipline on
March 9, 1998, in furtherance of its private mission to serve as the national resource center and
clearinghouse concerning online child sexual exploitation. The CyberTipline was created to allow
persons to report online (and via toll-free telephone) the enticement of children for sexual acts,
child sexual molestation, child pornography, child sex tourism, child sex trafficking, unsolicited
obscene materials sent to a child, misleading domain names, misleading words or digital images
on the Internet. The majority of CyberTipline reports NCMEC receives relate to apparent child
pornography and are from electronic service providers (“ESPs”).

4. ECD staff cannot alter or change information submitted by a reporting party to the CyberTipline.
Except for the incident type, date, and time, NCMEC does not direct or mandate the type of
information that a member of the public or an ESP may choose to submit in a CyberTipline report.
NCMEC provides voluntary reporting fields that a member of the public or an ESP may choose to
populate with information.

5. The front page of each CyberTipline report indicates a date and time (in Coordinated Universal
Time or UTC) that the report was created upon submission of the report content by the reporting
person or reporting ESP. The front page also lists an Incident Type for the report and the number
of total uploaded files, if any, submitted by the reporting ESP.

6. CyberTipline reports contain 4 sections: Section A, Section B, Section C, and Section D.
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7. Section A of a CyberTipline report contains information submitted by the reporting person or
reporting ESP. NCMEC staff cannot revise or edit any information contained in Section A. Other
than the “Incident Type” and “Incident Time” fields in Section A, all information provided by the
reporting person or reporting ESP in any other fields is voluntary.

8. Section B of a CyberTipline report contains automated information that NCMEC Systems
automatically generate based on information provided by a reporting ESP.

9. Section C of a CyberTipline report contains additional information compiled and documented
by NCMEC based on the information submitted in Section A.

10. Section D of a CyberTipline report contains information documented by NCMEC relating to
the law enforcement agency to which the CyberTipline report was made available.

Information Relevant to CyberTipline Report #87555105

11. NCMEC generates CyberTipline reports, such as CyberTipline report #87555105, in the
regular course of business. This report was created and maintained in the normal course of
NCMEC’s regularly conducted activities and was generated by, or upon transmission of the
information from, a person with knowledge of the information set forth in this report. The report
is a true and correct duplicate of the original.

12. On or about March 11, 2021, Dropbox, Inc. (“Dropbox”), an ESP, submitted a report related
to the suspect with the reported screen/user name of “James Meek”, email address of

mail.com”, and ESP User ID of “175347364”. Dropbox indicated the Incident Type
as “Child Pornography”. Upon receipt, NCMEC generated CyberTipline report #87555105.

13. Dropbox uploaded six (6) files in CyberTipline report #87555105.

14. Dropbox responded “Yes” to the following question in Section A: “Did Reporting ESP view
entire contents of uploaded file?” each of the six (6) uploaded files.

15. Dropbox responded “Yes” to the following question in Section A: “Were entire contents of
uploaded file publicly available?” for five (5) of the six (6) uploaded files.

16. Four (4) of the six (6) uploaded files were categorized by Dropbox as Al, which signifies that
Dropbox described the uploaded files as containing content showing a prepubescent minor
engaged in a sex act, which is defined as any image of sexually explicit conduct (actual or
simulated sexual intercourse including genital-genital, oral-genital, anal-genital, or oral-anal
whether between person of the same or opposite sex) bestiality, masturbation, sadistic or
masochistic abuse, degradation, or any such depiction that lacks serious literary, artistic, political,
or scientific value.

17. One (1) of the six (6) uploaded files was categorized by Dropbox as a B1, which signifies that
Dropbox described the uploaded file as containing content showing a pubescent minor engaged in
a sex act, which is defined as any image of sexually explicit conduct (actual or simulated sexual
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intercourse including genital-genital, oral-genital, anal-genital, or oral-anal whether between
person of the same or opposite sex) bestiality, masturbation, sadistic or masochistic abuse,
degradation, or any such depiction that lacks serious literary, artistic, political, or scientific value.

18. As indicated under the “Uploaded File Information” heading in Section B, three (3) files
matched the hashes of files that were previously viewed and categorized as Apparent Child
Pornography by NCMEC.

19. As noted in Section C of CyberTipline report #87555105, NCMEC staff viewed two (2) of the
six (6) uploaded files, “Video Feb 18 4 32 16 AM.mp4” and “072omstjb-4.wmv” and classified
the files as Apparent Child Pornography and CP (Unconfirmed), respectively. NCMEC staff did
not view one (1) remaining file, “uploadlog.csv”.

20. As noted in Section D of CyberTipline report #87555105, CyberTipline report #87555105 was
made available to the Virginia State Police in Fairfax, Virginia.

I declare under penalty of perjury that the foregoing is true and correct to the best of my
information and belief.

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SUSAN LAFONTANT DATE
Records Specialist
Exploited Children Division
The National Center for Missing and Exploited Children
333 John Carlyle Street
Alexandria, VA 22314

 

City/County of Alexandria
Commonwealth of Virginia

The foregoing instrument was subscribed and sworn before me this 1S day of May, 2023 by
Susan Lafontant.

Notary Public: VA Notary Signature (f| huyn Bute

ALLISON ILENE BACHART
NOTARY PUBLIC
REGISTRATION #8020355
COMMONWEALTH OF VIRGINIA
MY BOM MIE oe een

FEBRUARY 28.

 

 

 

 

My Commission Stamp

 
